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Certificate of Service

I, Hussain Kareem do ceritify that I have mailed by first class U.S. Mail the foregoing to the
following at his/her address below:

Counsel For Debtors:
YOUNG CONAWAY STARGATT & TAYLOR, LLP
Sean M. BEACH

Patrick A. Jackson

1000 West St., 17" Floor
P.O. Box 391

Wilmington, DE 19801

Tel: (302) 571-6600

Counsel for the Plan Trustee:
HAHN & HAESSEN LLP
Mark S. Indelicato

Edward L. Schnitzer

488 Madison Avenue LI | Jf {_—
New York, N.Y. 10022 LG 9. 0 | |
Tel: (212) 478-7200 |

The Plan Trustee:
Steven D. Stass U.S. Certified Mail No: 71969006982061052287
AHM Liquidating Trust

P.O. Box 10550

Melville, NY 11747
Mathis K. Wright, President
NAACP CHAPTER #5160
P.O. BOX 1296
AMERICUS, GA 31709
